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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE:                                                        :    25-md-3143 (SHS) (OTW)

OPENAI, INC., COPYRIGHT                                       :    ORDER
INFRINGEMENT LITIGATION.
                                                              :

This Document Relates To: All Cases                           :

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SIDNEY H. STEIN, U.S. District Judge.

        OpenAI’s request for an adjournment of the initial case management conference
scheduled for May 22 at 10:00 a.m. [Doc. No. 18] is denied. Mr. Van Nest may appear by
MS Teams as long as OpenAI has an attorney in the courtroom with authority to speak on
behalf of OpenAI.


Dated: New York, New York
       May 7, 2025
